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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov


In re:
                                                                      Chapter 15
MOTOCICLO S.A.,
                                                                      Case No.:

      Debtor in a Foreign Proceeding.
_________________________________/

     MOTION FOR ORDER GRANTING RECOGNITION OF FOREIGN MAIN
   PROCEEDING PURSUANT TO §§ 1515 AND 1517 OF THE BANKRUPTCY CODE

         The Uruguayan Association of Experts (“AUPE”), represented by Daniel Germán and

Gabriel Ferreira (“Foreign Representative”), the duly appointed liquidator of Motociclo S.A. (the

“Debtor”), files this Motion for Order Granting Recognition of Foreign Main Proceeding

Pursuant to §§ 1515 and 1517 of the Bankruptcy Code (the “Motion”). The Motion seeks entry

of an Order granting (i) recognition, pursuant to 11 U.S.C. § 15171, of the Debtor’s liquidation

proceeding pending before the Juzgado Letrado de Concursos de 2o Turno (“Uruguayan

Bankruptcy Court”), in the matter styled Motociclo S.A. Concurso Ley 18387, under Case No.

I.U.E. 2-36285/2018 (the “Motociclo Liquidation”); (ii) related relief pursuant to sections 1520

and 1521 of the Bankruptcy Code; and (iii) any other and further relief which may be available

under the Bankruptcy Code. In support of the Motion, the Foreign Representative respectfully

states as follows:

                                PRELIMINARY STATEMENT

         1.    The Foreign Representative filed the Chapter 15 Petition for Recognition of a



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         Unless otherwise specified herein, all statutory references shall be to Title 11 U.S.C. § 101
et seq. (the “Bankruptcy Code”).

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Foreign Proceeding (the “Petition”) pursuant to section 1504 seeking recognition of the Debtor’s

Motociclo Liquidation as a “foreign main proceeding” as defined in section 1502(4) . [D.E. 1].

       2.      The Statement of the Foreign Representative, executed by Daniel Germán as

representative of the Foreign Representative (the “Germán Decl.”), made under penalty of perjury,

addressing the requirements of § 1515(c) of the Bankruptcy Code and Federal Rule of Bankruptcy

Procedure 1007(a)(4), is attached hereto as Exhibit “A”.

       3.      The order placing the Debtor into liquidation and appointing AUPE as liquidator is

attached to the Germán Decl. as Exhibit 1.

       4.      The Petition, this Motion, and the Germán Decl. demonstrate that the Motociclo

Liquidation should be recognized as a foreign main proceeding pursuant to section 1517 of the

Bankruptcy Code.

       5.      The Foreign Representative seeks the type of relief that Chapter 15 was designed

to provide, and the Motociclo Liquidation, the Petition, and this Motion meet all the requirements

for recognition and the requested relief.

                                 JURISDICTION AND VENUE

       6.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and sections 109 and 1501 of the Bankruptcy Code.

       7.      This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(P), and the Court

may enter a final order consistent with Article III of the United States Constitution.

       8.      Uruguay is the Debtor’s center of main interests.

       9.      The Debtor’s registered office is located in Uruguay.

       10.     Venue is proper in this district under 28 U.S.C. § 1410. The Foreign Representative

has retained Sequor Law, P.A. (“Sequor Law”), in this district and Sequor Law holds in its trust

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account in this district approximately US$4,500.00 on behalf of and for the benefit of the Debtor,

to which funds Sequor Law has no rights of setoff, charging lien, or similar right.

                                          BACKGROUND

         11.    The factual background underlying this Motion is fully set forth in the Germán

Decl., which is incorporated herein by reference. [D.E. 2-1].

         12.    Motociclo is a bearer shares company that was organized under the laws of Uruguay

in 1960. Germán Decl., ¶3. Leonardo Rozenblum and Fabian Rozenblum (the “Rozenblums”) are

the two sole shareholders and the President and Vice-President, respectively, of Motociclo. Id. at

¶¶4-5.

         13.    Among other things, Motociclo imports and manufactures bicycles, motorcycles,

and spare parts. Id. at ¶6. Due to declining sales and the contraction of the Uruguayan financial

market between 2012 and 2013, Motociclo had to reduce its working capital and restructure its

business, including the closure of several of its retail locations. Id.

         14.    Between 2015 and 2016, Motociclo (represented by the Rozenblums) negotiated

the restructuring of its debt and an additional US$16,220,000.00 line of credit with certain

Uruguayan banks, and the Rozenblums made a US$15,000,000.00 capital contribution in an

attempt to ameliorate Motociclo’s dire financial situation. Id. at ¶¶8-10.

         15.    The Rozenblums’ efforts, however, were not enough to save Motociclo’s business.

Following Motociclo’s issuance of several worthless checks in 2018, Motociclo filed for voluntary

bankruptcy in August 29, 2018, which constituted an event of default under the debt restructuring

agreement with the banks. Id. at ¶11.

         16.    On September 13, 2018, the Uruguayan Bankruptcy Court issued Decree

2692/2018 commencing Motociclo’s liquidation and naming AUPE as liquidator. Id. at ¶12. On

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September 25, 2018, the Uruguayan Bankruptcy Court ratified AUPE’s appointment and removed

Motociclo’s administrators. Id. at ¶13.

       17.     Subsequently, on October 12, 2018, the Rozenblums filed for voluntary bankruptcy

and, on May 22, 2019, the Uruguayan Bankruptcy Court entered an order commencing the

bankruptcy and appointing AUPE as the liquidator. Id. at ¶14.

       18.     While the Rozenblums claimed in their bankruptcy filings that Motociclo’s

insolvency was caused by the banks’ coordinated efforts to reduce and/or withdraw Motociclo’s

lines of credit, the investigation of the Foreign Representative suggests that Motociclo’s

bankruptcy was caused by (i) the Rozenblum’s reckless administration of the business, (ii)

improper keeping of accounting records; and (iii) the Rozenblums’ extraction of value from

Motociclo through what appear to be sham contracts between Motociclo and another company

owned and controlled by the Rozenblums. Id. at ¶¶16-20.

       19.     Based on the foregoing, Foreign Representative intends to continue its investigation

in the United States to (i) further investigate the circumstances that led to Motociclo’s insolvency,

(ii) investigate the improper diversion of assets and/or extraction of value from Motociclo, (iii)

trace and recover assets belonging to the Debtors, Motociclo, Fabian Rozenblum, and Leonardo

Rozenblum; and (iv) investigate potential claims against third parties in order to recover assets

and/or value for the benefit of the Debtors’ estates. Id. at ¶21.

                                  BASIS FOR RECOGNITION

       20.     The Foreign Representative has satisfied each of the requirements for recognition

set forth in section 1517 of the Bankruptcy Code because (i) the Motociclo Liquidation is a foreign

main proceeding, (ii) AUPE, who is filing this Petition and Motion is a foreign representative



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under section 101(24), and (iii) the procedural requirements of section 1515 and Bankruptcy Rule

1007 are satisfied.

A.     The Motociclo Liquidation is a Foreign Main Proceeding Under Section 1502.

       21.     The Motociclo Liquidation, a liquidation proceeding under Uruguay law, qualifies

as a “foreign proceeding” under section 101(23) of the Bankruptcy Code because it is a collective

proceeding providing for the liquidation of the Debtor pursuant to Uruguay Bankruptcy Law No.

18387, which deals with insolvency.

       22.     The Motociclo Liquidation further qualifies as a “foreign main proceeding” under

section 1502 because the Motociclo Liquidation is a foreign proceeding pending in Uruguay,

where the Debtor’s registered office is located. See 11 U.S.C. § 1516(c) (“In the absence of

evidence to the contrary, the debtor’s registered office … is presumed to be the center of the

debtor’s main interests.”). Further, since the commencement of the Motociclo Liquidation, the

Foreign Representative engaged in significant tasks in Uruguay in connection to the Debtor’s

liquidation, such as (i) administration of the Debtor’s estate and claims against the Debtor; (ii)

sending relevant notices to relevant parties in interest; (iii) obtaining the Debtor’s books and

records from the Debtor’s registered agent; and (v) conducting an investigation relating to the

cause of Debtor’s bankruptcy, including in coordination with relevant government authorities in

Uruguay.

B.     AUPE is a Foreign Representative Under Section 101(24).

       23.     AUPE qualifies as “foreign representative” under section 101(24) of the

Bankruptcy Code by virtue of its appointment as liquidator by the Uruguayan Bankruptcy Court,

which grants it the power to, among other things, administer the liquidation of the Debtor’s assets

and to act as representative of the Motociclo Liquidation.

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C.      Motociclo’s Liquidation Meets the Procedural Requirements of Section 1515.

        24.    As stated above, the requirements of section 1515 are satisfied as the September

13, 2018 order (Decree 2692/2018) commencing the Debtor’s liquidation and naming AUPE as

liquidator is attached to the Germán Decl. as Exhibit 1.

        25.    Further, the statements required by section 1515(c) of the Bankruptcy Code and

Fed. R. Bankr. P. 1007(a)(4) are included in the attached Germán Decl.

        26.    Finally, AUPE submits that section 109(a) of the Bankruptcy Code does not apply

herein. To the extent section 109(a) of the Bankruptcy Code applies in Chapter 15 cases, the Debtor

qualifies as a “debtor” under section 109(a) because the Debtor has assets in the United States in

the form of a retainer with Sequor Law.

                                    RELIEF REQUESTED

        27.    By this Motion, the Foreign Representative respectfully requests entry of an Order

pursuant to sections 105(a), 1507, 1517, 1520 and 1521 of the Bankruptcy Code, substantially in

the form of the Proposed Order attached hereto as Exhibit “B”, granting the following relief:

        (a)    Recognizing the Motociclo Liquidation as a “foreign main proceeding” and AUPE

as the Foreign Representative of the Debtor;

        (b)    Granting the relief allowable as of right upon recognition of a foreign main

proceeding under section 1520 of the Bankruptcy Code;

        (c)    Granting the following additional relief under section 1521 of the Bankruptcy

Code:

               (1)    staying the commencement or continuation of any action or proceeding

without the consent of the Foreign Representative concerning the rights, obligations or liabilities



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of the Debtor, the Debtor’s estate to the extent not stayed under section 1520(a) of the Bankruptcy

Code;

               (2)      staying execution against the Debtor to the extent not stayed under §

1520(a);

               (3)      suspending the right to transfer or otherwise dispose of any assets of the

Debtor to the extent this right has not been suspended under section 1520(a);

               (4)      providing for the examination of witnesses, the taking of evidence, and the

delivery of information concerning the assets, affairs, rights, obligations or liability of the Debtor

and the Debtor’s estate under § 1521(a)(4), the Federal Rules of Bankruptcy Procedure, including

Fed. R. Bankr. P. 2004, and Local Rule 2004-1;

               (5)      entrusting the administration or realization of all of the assets of the Debtor

within the territorial jurisdiction of the United States to the Foreign Representatives;

               (6)      entrusting the distribution of all or part of the assets of the Debtor located

within the United States to the Foreign Representative;

               (7)      granting comity to and giving full force and effect to any Order entered by

the Uruguayan Bankruptcy Court; and

        (d)    granting the Foreign Representative such other and further relief as this Court may

deem just and proper.

                                          CONCLUSION

        WHEREFORE, the Foreign Representative respectfully requests that the Court enter an

Order granting the relief requested herein and such other and further relief as the Court deems just

and proper.



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Dated: August 23, 2021                   Respectfully submitted,

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